AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                        )   (For Revocation of Probation or Supervised Release)
               V.                                                       )   (For Offenses Committed On or After November 1, 1987)

                                                                        )
   JONATHAN TREY SLOAN                                                  )   Case Number: DNCW108CR00079-004
                                                                        )   USM Number:         22366-058
                                                                        )
                                                                        )   Fredilyn Sison
                                                                        )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of conditions 4 & 5 of the term of supervision.
☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

     Violation                                                                                                Date Violation
     Number                       Nature of Violation                                                          Concluded

           4                        DRUG/ALCOHOL USE                                                             3/17/2014
           5                        FAILURE TO REPORT CHANGE IN RESIDENCE                                        3/22/2014


       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
☒      Violations 1, 2 & 3 are dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 7/1/2014
                                                                                    Signed: July 2, 2014




                                                                                  Date: July 2, 2014




                    Case 1:08-cr-00079-MR-DLH                          Document 183        Filed 07/03/14     Page 1 of 3
AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation



Defendant: Jonathan Trey Sloan                                                                            Judgment- Page 2 of 3
Case Number: DNCW108CR00079-004



                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TWELVE (12) MONTHS.

☒ The Court makes the following recommendations to the Bureau of Prisons:
       -      Participation in the Federal Inmate Financial Responsibility Program.
       -      Participation in any available substance abuse treatment program and, if eligible, receive benefits of
              18:3621(e)(2).
       -      Participation in any available educational and vocational opportunities.
       -      Placed in a facility as close to Butner, NC, as possible, considering his security classification.
       -      Placed at a halfway house for a portion of his sentence not to exceed six (6) months.
☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                  By:
                                                                                        Deputy Marshal




                    Case 1:08-cr-00079-MR-DLH                          Document 183     Filed 07/03/14   Page 2 of 3
AO 245 D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation


Defendant: Jonathan Trey Sloan                                                                             Judgment- Page 3 of 3
Case Number: DNCW108CR00079-004



                                                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                 ASSESSMENT                                                FINE                         RESTITUTION
                    $0.00                                                  $0.00                           $0.00


☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

☒ In all other respects, the terms of the original judgment [Doc. 97] in this matter remain in full force and effect, including
the order for payment of:

            ☐ restitution, there being a balance remaining in the amount of $ .
            ☒ court-appointed counsel fees, there being a balance remaining in the amount of $2,111.94.
            ☒ special assessment, there being a balance remaining in the amount of $100.00.


                                                                           FINE

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

☒ The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

☒ The interest requirement is waived.

☐ The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

☐ The defendant shall pay court appointed counsel fees.

☐ The defendant shall pay $0.00 towards court appointed fees.




                    Case 1:08-cr-00079-MR-DLH                           Document 183   Filed 07/03/14   Page 3 of 3
